         Case 3:18-cv-04865-EMC Document 466 Filed 07/29/22 Page 1 of 2




                                  OFFICE OF THE CLERK
                         UNITED STATES DISTRICT COURT
                               Northern District of California
                                          CIVIL MINUTES
 Date: July 28, 2022                  Time: 1:30-2:44                  Judge: EDWARD M. CHEN
                                            1 hour, 14 Minutes


 Case No.: 18-cv-04865-EMC            Case Name: In re Tesla Inc. Securities Litigation v.
Attorneys for Plaintiff: Nicholas Porritt, Adam Apton
Attorney for Defendant: Michael Lifrak, Andrew Rossman and Ellyde Thompson

 Deputy Clerk: Vicky Ayala                               Court Reporter: Joan Columbini

                                           PROCEEDINGS
Motions in Limine [448] [450] [451] [452]. - held
                                             SUMMARY


Parties stated appearances.
For the reasons stated on the record, the Court DENIES Plaintiff’s Motion in Limine No. 1 to
Preclude Evidence, Opinion, and Argument of Immateriality. Docket No. 448. First, materiality
is generally a question of fact for the jury. See S.E.C. v. Phan, 500 F.3d 895, 908 (9th Cir. 2007)
(“Determining materiality in securities fraud cases should ordinarily be left to the trier of fact.”)
(internal citation omitted). Second, both sides have presented evidence regarding whether or not
the statements were material. See Docket No. 448 at 3–6; Docket No. 448-1 at 5–6. Plaintiff
has not shown that arguments regarding immateriality would be unfairly prejudicial under
Federal Rule of Evidence 403.
The Court DENIES Defendants’ Motion in Limine No. 1 to Exclude Damages Evidence After
August 13, 2018. Docket No. 450. Plaintiff may be able to show that the New York Times
article, which was published in print on August 17, 2018, is at least a partial corrective
disclosure. The Court will allow evidence of damages after August 13, 2018.
The Court takes Defendants’ Motion in Limine No. 2 to Exclude the Opinions of Michael
Hartzmark under submission. Docket No. 451.
The Court GRANTS Defendants’ Motion in Limine No. 3 to Preclude Evidence or Argument
Concerning an Unpled August 13 Purported Misrepresentation. Docket No. 452. In Plaintiff’s
motion for summary judgment, he asserted that the statement “I have continued to communicate
with the Managing Director of the Saudi fund...” was an actionable omission. Docket No. 352 at
        Case 3:18-cv-04865-EMC Document 466 Filed 07/29/22 Page 2 of 2




23. But Plaintiff did not allege that this particular statement was an actionable omission in the
Consolidated Complaint. See Docket No. 184. Nor was this timely disclosed prior to the
motion. Because the deadline for amending the pleadings set by the Court’s scheduling order
has long since passed, see Docket No. 261, Plaintiff must show good cause to amend. Fed. R.
Civ. P. 16(b)(4). For the reasons explained on the record, the Court concludes that Plaintiff has
not shown good cause excusing Plaintiff’s lack of diligence.
